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 7
                          UNITED STATES DISTRICT COURT
 8                       EASTERN DISTRICT OF WASHINGTON
 9
10   UNITED STATES OF AMERICA,                    )
                                                  ) NO: CR-13-6070-WFN
11                       Plaintiff,               )
12                                                ) United States’ Notice of Intent to
             vs.                                  ) Comply with Criminal Discovery
13
                                                  ) Obligations and Reciprocal
14   KENNETH ROWELL,                              ) Request for Disclosure of Evidence
15                                                ) by the Defendant
                         Defendant.               )
16                                                )
17                                                )
                                                  )
18
                                                  )
19
20           Plaintiff, United States of America, by and through, Michael C. Ormsby,
21
     United States Attorney for the Eastern District of Washington, and Alexander C.
22
23   Ekstrom, Assistant United States Attorney for the Eastern District of Washington,
24   submit the following Notice of Intent to Comply with Criminal Discovery
25
     Obligations and Reciprocal Request for Disclosure of Evidence by the Defendant.
26
27
28

     Notice to Comply                     1
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 1
             I.         INTRODUCTION
 2
 3           On December 10, 2013, the Defendant was indicted and charged with
 4
     Distribution of a Controlled Substance, in violation of 21 U.S.C. § 841(a)(1). On
 5
 6   December 11, 2013, the Defendant was arraigned. On December 11, 2013 the
 7
     Court issued an Order Regarding Discovery and Pretrial Motions (ECF 20). In
 8
 9   addition, the United States intends to work with defense counsel on any discovery-

10   related issues that might arise during the course of litigation.
11
12
13   II.     INTENT TO COMPLY WITH CRIMINAL DISCOVERY
14
             OBLIGATIONS
15
16           The United States is mindful of its criminal discovery obligations under
17   Federal Rule of Criminal Procedure 16, local court rules, the Jencks Act (18 U.S.C.
18
     § 3500) and the independent obligations applied by Brady v. Maryland, 373 U.S.
19
20   83 (1963), and its progeny, and intends to fully comply with those obligations.
21
     The United States is also mindful of its obligation to protect victims and witnesses
22
23   from retaliation or intimidation and to safeguard ongoing criminal investigations.
24           In accordance with the time frame set forth in the Courts Discovery Order
25
26   (which requires a complete furnishing of all investigative material within 14 days

27   of the Courts Order) and in accord with the court rules, statutes and case law
28

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 1   governing discovery disclosures in federal criminal cases, the United States hereby
 2
     gives notice that it will not consent to releasing discovery, documents, materials, or
 3
 4   “all investigative material” in this case pursuant to the Courts “Open File”
 5
     Discovery Order. Rather, the United States will diligently produce discovery in its
 6
 7   possession in accordance with the discovery obligations set forth in Fed. R. Crim.

 8   P. 16, 18 U.S.C. § 3500 (Jenks Act), the rules of production established therein, the
 9
     landmark decisions of Brady v. Maryland, 373 U.S. 83 (1963) and Kyles v.
10
11   Whitley, 514 U.S. 419, 433 (1995), in disclosing exculpatory material within its
12
     possession which is material to the issue of guilt or punishment and Giglio v.
13
14   United States, 405 U.S. 150, 154 (1972), as well as Court Rules, statutes, federal
15   case law, and of course any further Order of this Court. The United States will not
16
     be providing discovery on an “open-file” basis, pursuant to the Department of
17
18   Justice’s policy on this issue.
19
             Furthermore, while the Discovery Order states that the government shall
20
21   provide, within 7 business days of the date of arraignment, all investigative
22   material in its file and shall complete discovery within 14 days of the date the order
23
24   was issued, the United States will not conclude the discovery process within 14

25   days of the date the order was issued. As is customary in all criminal cases, the
26
     United States is hereby providing notice that it intends to investigate, interview
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28

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 1   witnesses, and collect any additional evidence throughout the trial process and/or
 2
     sentencing. The United States will produce promptly any discoverable materials
 3
 4   that it obtains throughout the trial process and/or sentencing.
 5
             If reports of examination and tests are received by the United States in this
 6
 7   case, pursuant to Federal Criminal Procedure Rule 16(a)(1)(F), the United States

 8   will provide said reports of examinations and tests as soon as they are received and
 9
     reviewed by the United States. The United States will also provide to defense a
10
11   written summary of any expert witness testimony it will seek to present in its case-
12
     in-chief, pursuant to Rules 702, 703, and 705 of the Federal Rules of Evidence,
13
14   describing the expert’s opinion, the basis and reasons for those opinions, and the
15   witness’s qualifications.
16
             If the case involves confidential informant(s), the United States hereby gives
17
18   notice, based upon safety concerns of confidential informant(s), that it will not be
19
     producing information that would tend to reveal the identity of such an individual
20
21   (including audio or video recordings), their location or contact information, within
22   the time frame provided by the Courts Discovery Order. However, the United
23
24   States will be providing in discovery the criminal history and any benefits received

25   by the confidential informant(s). The United States notes that the trial court must
26
     balance the need of the defense for information against the value of ensuring the
27
28

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 1   safety of the informant(s). United States v. Rowland, 464 F.3d 899, 909 (9th Cir.
 2
     2006). The defendant bears the burden of showing a need for disclosure. United
 3
 4   States v. Decound, 456 F.3d 996, 1009 (9th Cir. 2006). If the case is not resolved
 5
     by a plea agreement, the United States will provide the identity of informant(s) and
 6
 7   information about them, as well as any audio and/or video recordings involving

 8   them, pursuant to Brady/Giglio and the Federal Rules of Evidence
 9
             If this case involves minor victims and/or witnesses that need to be protected
10
11   from retaliation or intimidation, the United States shall either redact discovery or
12
     promptly request a protective order for disclosure of discovery related to such
13
14   individuals, pursuant to 18 U.S.C. § 3509.
15           If this case includes contraband child pornography, the United States will
16
     promptly seek a joint “Stipulation re: Computer Forensic Review Procedures for
17
18   Child Pornography Contraband” to allow for defense review of child pornography
19
     images at a government facility, pursuant to 18 U.S.C. § 3509(m).
20
21           In alien cases, the United States will be providing defense counsel with
22   access to the Alien Administrative File, aka the “A” file.
23
24           Federal Criminal Procedure Rule 16 does not require the disclosure of grand

25   jury transcripts. The United States intends to provide transcripts of testifying
26
     witnesses approximately two weeks in advance on any trial in this matter.
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 1   III.    United States Request for Disclosure of Evidence by the Defendant
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             The United States hereby requests Defendant to promptly disclose the
 3
 4   information and evidence required by Rule 16(b) of the Federal Rules of Criminal
 5
     Procedure.
 6
 7           The Defendant is charged with an offense(s), the times, dates and places of

 8   which are detailed in the Indictment and discovery materials provided by the
 9
     United States. Pursuant to Fed. R. Crim.P.12.1, the United States hereby demands
10
11   notice of alibi.
12
             Lastly, pursuant to Fed. R. Crim.P.12.2(a) and (b), the United States hereby
13
14   demands notice of any insanity defense or other mental disease, defect, or other
15   condition bearing on whether the Defendant has the mental state required for the
16
     offense(s) charged.
17
18           DATED this 12th day of December, 2013.
19
                                Michael C. Ormsby
20                              United States Attorney
21
                               s/Alexander C. Ekstrom
22                             Alexander C. Ekstrom
23                             Assistant United States Attorney
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     Notice to Comply                      6
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 1           I hereby certify that on December 12, 2013, I electronically filed the
 2
     foregoing with the Clerk of the Court using the CM/ECF System which will send
 3
 4   notification of such filing to the following, and/or I hereby certify that I have
 5
     mailed by United States Postal Service the document to the following non-
 6
 7   CM/ECF participant(s): Rick Hoffman.

 8
 9
10
11
12                              s/ Thomas J. Hanlon
13                              Thomas J. Hanlon
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